                                                                              ORDER:
                                                                              Motion granted.


                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                   U.S. Magistrate Judge
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )       NO. 3:14-00104
               v.                                   )
                                                    )       Judge Trauger
JOHN WESLEY CANTRELL, III, et al.                   )

                      MOTION TO UNSEAL SUPERSEDING INDICTMENT

       The United States of America, by and through David Rivera, United States Attorney, and

Brent A. Hannafan, Assistant United States Attorney, hereby moves this Court to unseal the

superseding indictment.

       The superseding indictment was originally sealed due to a large number of the defendants

not being in custody at the time it was returned. Almost all of the defendants have been arrested

on the superseding indictment and the United States believes it is now appropriate to unseal the

superseding indictment as to all defendants.

       WHEREFORE, the United States respectfully requests the superseding indictment be

unsealed.

                                                    Respectfully submitted,


                                                    DAVID RIVERA
                                                    UNITED STATES ATTORNEY

                                                    By: s/ Brent A. Hannafan
                                                    Brent A. Hannafan
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